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FILED

IN THE UNITED STATES DISTRICT COURT MAY 2 0 2005
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION MIGHAEL W. DOBBINS
CLERK, V-8. DISTRICT GOUAT

JOHN GREEN, )
) CIVIL ACTION
)
Plaintiff, ) No. . =
) 4
. nn 5C 3016
) JUDGE CONLON
LOYOLA UNIVERSITY OF CHICAGO,  )

) MAGISTRATE | agigTRATE JUDGE
) JUDGE:____geratpIne SOAT BROWN
Defendant. ) JURY DEMANDED

COMPLAINT

NOW COMES THE PLAINTIFF, JOHN GREEN, through his
attomey, ARMAND L. ANDRY, and complaining of Defendant, LOYOLA
UNIVERSITY OF CHICAGO, would state the following:

JURISDICTION

1. This is an action by a student of the Defendant, LOYOLA
UNIVERSITY OF CHICAGO. This action arises under Title VI of the Civil
Rights Act of 1964, 42 U.S.C. 2000d; Title [X of the Education
Amendments of 1972, 20 U.S.C. Sections 1681-1688); and The Civil Rights
Act of 1866, 42 U.S.C. 1981. This court has jurisdiction under 28 U.S.C.
1331 (a), 1337 and 1343, in that the claims involved violation of federally
protected rights and charges of discrimination and retaliation. All

administrative procedures have been exhausted.

 

 
 

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PARTIES
92. Plaintiff JOHN GREEN is an African American student of the

LOYOLA UNIVERSITY OF CHICAGO school of Education.

3. Defendant, LOYOLA UNIVERSITY OF CHICAGO, is a recipient

of federal funds as defined by Title VI of the Civil Rights Act of 1964 as
amended Title [IX of the Education Amendments of 1972 Title 20 U.S.C.
Sections 1681-1688) and is the University where Plaintiff is enrolled in the

graduate school of education.

FACTS

. Plaintiff, JOHN GREEN, is a student at Defendant LOYOLA
UNIVERSITY.

. Plaintiff was previously a teacher with the Chicago Board of Education
and an administrator, acting as an assistant principal.

. Plaintiff has also held other positions of trust in the community including
an agent for the Hlinois Bureau of Investigation.

. Plaintiff was admitted to the School of Education at Defendant LOYOLA
UNIVERSITY in the D3 COHORT PROGRAM seeking an Ed. D.
degree in 1999,

. Others who entered the Cohort D3 program at the same time as Plaintiff
were Clara Paul; Beverly Anderson-Coleman; Sharon Baksh; Marion
Dozier, Carmia Fuqua; Ruth Prince; and Ivry Hobbs.

. Until April 2000 Plaintiff had fulfilled all the legitimate requirements of
the Cohort D3 program.

10. In April 200, Plaintiff was attacked and struck by a female student, Clara

Paul without justification.

11. Plaintiff filed charges against Clara Paul with the Chicago Police and

the Cook County States Attorney.
 

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12, One of Plaintiffs professors, Dr. Gene McGrew told Plaintiff that if he
did not drop the charges against Mrs. Paul, charges would be made
against Plaintiff.

13. Another of Plaintiff's professors, Dr. Robert Roamer, prepared a
document to be signed by Plaintiff indicating he would drop the charges
against Mrs. Paul.

[4. Plaintiff refused to sign the document as instructed by Drs. McGrew and
Roamer and litigated the matter in court.

15. After pursuing the matter in court Plaintiff was continually harassed and
had false allegations made against him by other cohort members with the
aid and assistance of Drs. McGrew and Roamer.

16. Plaintiff was advised he would never receive an Ed. D. degree.

17. Plaintiff transferred out of the ED. D. program and into the Ph, D.
program in Education.

18. Professors in the Ph. D. program were aware of the incidents in the
Cohort D3 Ed. D. program involving Plaintiff, Mrs. Paul and Drs.
McGrew and Roamer.

19. In order to obtain the PhD, Plaintiff had to assemble an advisory
committee of three faculty members to approve the writing of his
dissertation and defense of the dissertation.

20. Plaintiff sought advisers from the faculty of the Defendant.

21. Professors he sought as advisers repeatedly refused to act on his
advisory committee except three advisers.

22, Plaintiff was advised that he would never get his Ph. D.

23. Plaintiff has fulfilled all the legitimate requirements necessary to obtain
the Ph. D. in Education or is in the process of fulfilling any remaining

legitimate requirements.
 

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24. Plaintiff has been given additional requirements and modifications to
the normal legitimate requirements for the Ph. D. that other white and
female students and students who do not oppose discrimination have not
had imposed on them by the Defendant LOYOLA UNIVERSITY.

25. All of the students in the D3 cohort program have now received their
Ed. D’s.

26. One student from the D3 cohort program, Sharon Baksh, transferred
from the Ed. D. D3 cohort program to the Ph. D. program.

27. Mrs. Baksh has now received her Ph. D. in Education.

28. Plaintiff continues to be denied his Ph. D. in Education and or continues
to have requirements imposed on him unlike other Ph. D. candidates.

29. Plaintiff has three faculty advisers who determine if his dissertation is
accepted and, therefore, whether he will receive his degree.

30. Plaintiff has been advised that one of the three, the chairman of the
advisory committee, will be resigning his position.

31. Plaintiff was previously told that if a member of his advisory committee
resigned he would have to begin the entire process for acceptance of his
dissertation again.

32. The different requirements imposed on Plaintiff have caused him to
spend additional time and monies not required of other Ph. D. or Ed. D.
candidates.

33. Plaintiff was subjected to a hostile environment and suffered adverse
action from the Defendant LOYOLA UNIVERSITY.

34. The actions taken by Defendant LOYOLA UNIVERSITY against
Plaintiff are based on his gender, and/or race, and/or his opposition lo

discrimination.

 
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COUNT ONE TITLE VI OF THE CIVIL RIGHTS ACT OF
1964, 42 U.S.C. 2000d

35. Plaintiff adopts and realleges as paragraph 35 of his complaint,
paragraphs 1-34 above.

36. Title VI of the Civil Rights Act of 1964 makes it an unlawful for
persons receiving federal funds to treat persons differently because of
their race or because of opposing discrimination.

37. The Defendant, LOYOI.A UNIVERSITY OF CHICAGO, through its
agents, has violated the abovementioned laws by subjecting Plaintiff to a
hostile environment and treating Plaintiff differently because of his race
and/or national origin and because of opposing discrimination.

38. The justifications for permitting this hostile environment and any
adverse actions taken against Plaintiff are pretextual.

39. Plaintiff was thus denied his rights under the above Act.

40. Plaintiff was damaged in amounts to be proven at trial as a result of the
violation of his rights including suffering lost fees paid, humiliation,
embarrassment, stress and other compensatory damages.

WHEREFORE, Plaintiff prays for judgment in amounts to be proven
al trial for reasonable attorney's fees and costs and such other relief as the
court deems appropriate.

PLAINTIFF DEMANDS TRIAL BY JURY.

COUNT TWO TITLE IX OF THE EDUCATION
AMENDMENTS OF 1972, 20 U.S.C, 1681-1688

41. Plaintiff adopts and realleges as paragraph 41 of his complaint,

paragraphs 1-34 above.

 
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42. Title LX of the Education Amendments of 1972, 20 U.S.C. 1681-1688
makes it an unlawful for persons receiving federal funds to treat persons
differently because of their gender or because of opposing discrimination.

43. The Defendant, LOYOLA UNIVERSITY OF CHICAGO, through its
agents, has violated the abovementioned laws by subjecting Plaintiff to a
hostile environment and treating Plaintiff differently because of his
gender and because of opposing discrimination.

44. The justifications for permitting this hostile environment and any
adverse actions taken against Plaintiff are pretextual.

45. Plaintiff was thus denied his rights under the above Act.

46. Plaintiff was damaged in amounts to be proven at trial as a result of the
violation of his rights including suffering lost fees paid, humiliation,
embarrassment, stress and other compensatory damages.

WHEREFORE, Plaintiff prays for judgment in amounts to be proven
at trial for reasonable attorney's fees and costs and such other relief as the
court deems appropriate.

PLAINTIFF DEMANDS TRIAL BY JURY.

COUNT THREE CIVIL RIGHTS ACT OF 1866, 42 U.S.C. 1981
47, Plaintiff adopts and realleges as paragraph 47 of his complaint,

paragraphs 1-34 above.

48. The Civil Rights Act of 1866 makes it unlawful to treat persons
differently because of their race or because of opposing discrimination.

49. The Defendant, LOYOLA UNIVERSITY OF CHICAGO, through its
agents, has violated the abovementioned laws by subjecting Plaintiff to a
hostile environment and treating Plaintiff differently bccause of his race

and because of opposing discrimination.

 
 

 

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50. The justifications for permitting these adverse and hostile actions taken
against Plaintiff are pretextual.

51. Plaintiff was thus denied his rights under the above Act.

52. Plaintiff was damaged in amounts to be proven at trial as a result of the
violation of his rights including suffering lost fees paid, humiliation,
embarrassment, stress and other compensatory damages.

WHEREFORE, Plaintiff prays for judgment in amounts to be proven
at trial for reasonable attorney's fees and costs and such other relief as the

court deems appropriate.

PLAINTIFF DEMANDS TRIAL BY JURY.

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